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                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF INDIANA
                                        FORT WAYNE DIVISION

IN THE MATTER OF                             )
                                             )      BANKRUPTCY CASE 18-11219
TYLYNN WALTERS MOORE                         )           Chapter 7
            Debtor.                          )

                          TRUSTEE’S APPLICATION TO EMPLOY ATTORNEYS

TO THE UNITED STATES BANKRUPTCY JUDGE

        The application of Yvette Gaff Kleven respectfully alleges:

        1. Applicant is the duly qualified and acting Trustee in this case.

        2. To perform her duties as Trustee, your applicant requires the services of attorneys for the

following purposes:

        a. To advise and consult with applicant concerning questions arising in the conduct of the

administration of the estate and concerning applicant’s rights and remedies with regard to the estate’s

assets and the claims of secured, preferred, and unsecured creditors and other parties in interest;

        b. To appear for, prosecute, defend, and represent applicant’s interest in suits arising in or related

to this case; specifically to obtain copies of life insurance documents and bank statements;

        c. To investigate and prosecute preference and other actions arising under the Trustee’s avoiding

powers; and

        d. To assist in the preparation of such pleadings, motions, notices, and orders as are required for

the orderly administration of this estate.

        3. For the foregoing, and all other necessary and proper purposes, applicant desires to retain

generally the law firm of Adelsperger & Kleven, LLP, as counsel for the Trustee.

        4. Because Adelsperger & Kleven, LLP practices in debtor/creditor matters, and because of its
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experience in those fields, applicant feels that said law firm is well qualified to render the foregoing

services.

        5. Based upon the Declaration attached hereto, applicant believes that said law firm and its

members and associates do not hold or represent any interest adverse to that of your applicant or the

debtor(s) estate, and that said law firm is a disinterested person within the meaning of 11 U.S.C. Section

101(14). Applicant is informed that the normal hourly billing rate of said law firm at the time of this

Application is as follows:

        a. Two Hundred and Seventy-five and no/100 Dollars ($275.00) an hour for the services of

Douglas R. Adelsperger; and Two Hundred and Seventy-five and no/100 Dollars ($275.00) an hour for the

services of Yvette Gaff Kleven. Said rates are subject to change in the future.

        b. Eighty and no/100 Dollars ($80.00) an hour for the services of paralegals. Said rate is subject

to change in the future.

        c. Twenty-Five Cents ($.25) per page for photocopies; and

        d. Actual and necessary expenses for faxes, postage, long distance telephone calls, and mileage.

        It is contemplated that said attorneys will seek compensation based upon normal and usual hourly

billing rates. It is further contemplated that said attorneys will seek interim compensation during the case

as permitted by 11 U.S.C. Section 331.
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        WHEREFORE, applicant prays that she be authorized to employ Adelsperger & Kleven, LLP as

her attorneys to render services in the areas described above with compensation to be paid as an

administrative expense in such amounts as this Court may hereinafter determine and allow.

DATE: August 14, 2018                           /S/Yvette Gaff Kleven, #8373-02
                                                Yvette Gaff Kleven, Chapter 7 Trustee
                                                111 West Wayne Street
                                                Fort Wayne, Indiana 46802
                                                Telephone: (260) 407-7077
                                                ygk@adelspergerkleven.com


                                      CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 14, 2018, a true and correct copy of the above

and foregoing Trustee’s Application To Employ Attorneys was transmitted electronically through the

Bankruptcy Court’s ECF System to:

United States Trustee, USTPRegion10.SO.ECF@usdoj.gov

Steven J. Glaser, Attorney at Law, glaser.bankruptcy@frontier.com



                                                /S/Yvette Gaff Kleven, #8373-02
                                                Yvette Gaff Kleven, Chapter 7 Trustee
                                                111 West Wayne Street
                                                Fort Wayne, Indiana 46802
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                                                ygk@adelspergerkleven.com
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                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF INDIANA
                                       FORT WAYNE DIVISION

IN THE MATTER OF                          )
                                          )        BANKRUPTCY CASE 18-11219
TYLYNN WALTERS MOORE                      )             Chapter 7
            Debtor.                       )

                                      DECLARATION OF ATTORNEY

        I, Yvette Gaff Kleven, declare:

         1. I am an attorney duly admitted to practice before all courts of the State of Indiana, as well as
this court.

        2. I am a member of Adelsperger & Kleven, LLP, the law firm that the Trustee is seeking to
employ generally by the Application to which this Declaration is attached. All of the members and
associates of this law firm are similarly duly admitted to practice in this state and before this Court.

        3. The law firm of Adelsperger & Kleven, LLP has extensive experience in bankruptcy and
debtor/creditor law. The firm is well qualified to represent the Trustee generally herein, and is willing to
accept employment on the basis set forth in the Application.

         4. The law firm of Adelsperger & Kleven, LLP, its members and its associates, do not hold any
interest adverse to the above-entitled estate and said law firm is a disinterested party as defined in 11
U.S.C. Section 101(14). Further, neither the undersigned nor any members of the law firm of Adelsperger
& Kleven, LLP have been employed by the Debtor, or any of its affiliates, or by any officer, director,
shareholder, partner or limited partner or any scheduled creditor of the Debtor.

        5. Pursuant to Bankruptcy Rule 2014(a) Affiant would additionally disclose that Yvette Gaff
Kleven as partner in the firm, is a Chapter 7 Panel Trustee for the Northern District of Indiana, Fort Wayne
Division, appointed by the Office of the United States Trustee, Region 10.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on August 14, 2018, at Fort Wayne, Indiana.

                                                   /S/Yvette Gaff Kleven, #8373-02
                                                   Yvette Gaff Kleven, Chapter 7 Trustee
                                                   111 West Wayne Street
                                                   Fort Wayne, Indiana 46802
                                                   Telephone: (260) 407-7077
                                                   ygk@adelspergerkleven.com
